Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 1 of 50
INFORMATION AND DISCLOSURE STATEMENT

Pursuant to Rule 15c2-(11)(a)(5) under the Securities Exchange Act of 1934

June 30, 2012

Medical Marijuana, Inc.

2665 Ariane Drive
Suite 207°
San Diego, CA 92117

CUSIP: 58463A105
Trading Symbol: MJNA |

information and Disclosure Statement Pursuant to Rule 15c2-11 (a)(5) Page 1 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 2 of 50

INFORMATION AND DISCLOSURE STATEMENT. PURSUANT TO RULE 15c2-(11)(a)(5)

All information contained in this Information and Disclosure Statement has been compiled to fulfill the
disclosure requirements of Rule 15c211 (a)(5) promulgated under the Securities Exchange Act of 1934,
as amended. The enumerated captions contained herein correspond to the sequential format as set
forth in the rule.

Section One: Issuer’s Initial Disclosure

PartA General Company Information

Item! The exact name of the issuer and its predecessors
Medical Marijuana, Inc. (the “Company”, “we”, four", “us”, “MINA’)

The Company was originally incorporated as Berkshire Collection, Inc., in Canada in
2003. On May 23, 2005 the Company.was incorporated in the State of Oregon. The
Company changed its name to Mynewpedia Corp. on January 31, 2007. On May 21,
2008 the Company with the consent of the majority shareholder of Mynewpedia,
agreed to issue common stock of Mynewpedia, Corp (MYNW) to the shareholders of
Club Vivanet (Florida) in exchange for all issued and outstanding, common shares of the
stock of Club Vivanet, totaling 9,300,000 common shares by way of an exchange of one
(1) share of Club Vivanet for twelve (12) shares of Mynewpedia, Inc. Club Vivanet Inc.,
formed in August 2006 as a Florida C Corporation, is currently a wholly owned subsidiary
of the Company. Total outstanding shares of the Company after the acquisition was
221,176,840. The Company subsequently changed its name to Club Vivanet, Inc. on
May 22, 2008, and on August 28, 2008, the Company effected a 20:1 reverse split which
resulted in 11,058,842 total issued and outstanding shares of common stock of the
Company. . On March 23, 2009, the Company resolved to change its name to Medical
Marijuana, Inc., which name change became effective April 28, 2009. On April, 27, 2009
the then current directors/officers of the company resigned and appointed new
Officers/Directors. On April 28, 2009 Company issued a total! of 40,000,000 shares to
New CEO. These actions effected a change and control of the company. Upon the
effective date of the name change the Company's trading symbol was changed to MJNA.
On the date of the name change of the Company to Medical Marijuana, Inc. the
Company spun off its wholly owned subsidiaries, Club Vivanet, a Florida corporation and
Mynewpedia Corp. March 23, 2011, an equity/asset exchange was affected between
Hemp Deposit and Distribution Corp., a Delaware corporation (“HDDC”) and the
Company. The equity/asset exchange called for the Company to issue 260,000,000
million shares of common stock to HDDC which required an increase in the authorized
share capital from 300,000,000 shares to 600,000,000 shares. The increase was
declared effective on March 28, 2011. :- The issuance of the 260,000,000 shares was
effected on March 31, 2011 which effected a change and control of the Company.

Information and Disclosure Statement Pursuant to Rule 15c2-11 (a)(5) Page 2 of 33
Item Il

Item Hl

Part B

Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 3 of 50

The fiscal year end of the Company is December 31.

Neither the company nor any predecessor has been | in bankruptcy, receivership or any
other similar proceeding.

There has been no default of the terms of any note, loan, lease, or other indebtedness
or financing arrangement requiring the company to make payments.

The company has never been delisted by any securities exchange or deleted from the
OTC Bulletin Board or Pink Sheets.

There are no current and have been no past, pending, or administrative actions either
by or against the company that could have a material effect on the company’s, business,
financial condition, or operations and there are no current, past or pending suspensions
by a securities regulator.

It is understood that when the company uses the word Cannabis, Marijuana, Canipa,
Industrial Hemp or Hemp it is referring to the word Hemp.

FOOD AND DRUG ADMINISTRATION (FDA) DISCLOSURE

These statements have not been evaluated by the Food and Drug Administration (FDA).
These products and statements are not intended to diagnose, treat, cure, or prevent any
disease.

Medical Marijuana Inc. does not grow, sell, manufacture or distribute marijuana
or any other substances that violate the United States Controlled Substance Act. Its
products are derived from the legal parts of the Hemp plant.

The address of its principal executive offices

Medical Marijuana, tnc.
2665 Ariane Drive
Suite 207

San Diego, CA 92117

The jurisdiction(s) and date of the issuer’s incorporation or organization
The issuer was originally incorporated in Canada as The Berkshire Collection. On May
23, 2005 the Company was re-incorporated in the State of Oregon.

Share Structure

Item I

The exact title and class of securities outstanding
Medical Marijuana, Inc. Common Stock

CUSIP Number — 58463A105

Trading Symbol! — MJNA

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 3 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 4 of 50

Par or stated value and description of the security _
Par Value of Common Stock is $0.001 per share
600,000,000 shares authorized

The number of share or total amount of the securities outstanding for each class of

At the end of last fiscal quarter — June 30, 2012
Common Stock 598,565,764 shares outstanding

At the end of last fiscal quarter — June 30, 2012
Common Stock 598,565,764 shares outstanding
547 - Shareholders of Record as of 06/30/2012
10,740 - Beneficial Shareholders as of 06/30/2012:
225,681,291 — Public Float Shares as of 03/31/2012

December 31, 2011: 558,565,764 shares outstanding
December 31, 2010: 245,949,062 shares outstanding
December 31, 2009: 222,685,777 shares outstanding

The name and address of the transfer agent
First American Stock Transfer, Inc.

https://firstamericanstock.com

First American Stock Transfer, inc is registered Under the Exchange Act with the
Securities Exchange Commission as a Registrar and Transfer Agent.

Item Il
Item III
securities authorized
ITEM V SHARES OUTSTANDING
Part C Business Information
Item I
4747 N. 7" Street
Suite 170
Phoenix, AZ 85014
602-485-1346
602-788-0423 fax
Item Ii

The nature of the Company’s business

A. Business of Issuer

1. The Company’s primary SIC Code is 7380, Miscellaneous Business Services.
2. The Company Is in the development stage.

3. To the best of our knowledge the Company is not, nor has ever been a “shell
company”. ,

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 4 of 33
Case 1:15-cv-00701-JWF: Document 69-4 Filed 11/16/18 Page 5 of 50

4. The Company currently has the following divisions and subsidiaries as well as the
following affiliates:

Divisions

1. The Hemp Network

2. CannaFuel.

3. The Pet Hemp Emporium

Subsidiaries

Wellness Managed Services
Ace Hydro

HempMedsRX

Red Dice Holdings
PhytoSPHERE Systems
CanCHEW Bio-Technologies

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5. Affiliates
CannaBANK, Inc.

The effect of existing or probable government regulations on the business of the
Company is not known at this time. Due to the nature of the business of the
Company, it is anticipated that there may be increasing regulation upon the
business of the Company.

6. Research and development activities commenced in April of 2009, and have
increased in the quarter ending through December 31, 2011.

7. The total number of full time corporate employees is seven (7).

8. Prior to new management and the issuance of shares to Hemp Deposit and
Distribution, the Company was involved in the following; -

(The company’s management_is continuing its evaluation of the following
divisions, strategies, partnerships, business and operational plans for productivity,
rofitability, marketability and to make sure it fits into the Company’s business

strategies, the following excerpts were taken directly from prior managements
annual reports) . :

Medical Marijuana, Inc. will provide institutional level financial services to local,
state and federal governments, testing and certification services, education
programs, consulting and turn-key solutions to all levels of government and the
medical marijuana industry. A division, The Hemp Network, established in June
2010, sells hemp-based products to consumers through a network of home-based
sales representatives.

Management believes that The Hemp Network’s use of organic products benefits
our environment and provides monetary rewards to the Company. The Hemp

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 5 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 6 of 50
Network was established to make a real difference in the world by providing the
highest quality hemp and hemp blended products to a wide marketplace with the
use of network marketing to create massive distribution.

EDUCATIONAL SYMPOSIUM AND SEMINARS

The Company began its expanded seminars with its first education forum in Los
Angeles at the Convention Center on January 16-17, 2010. Shortly thereafter, the
Company held its second seminar in April 2010 in San Diego at the Convention
Center. The focus of these seminars is on educating entrepreneurs, existing
industry operators, regulators, city officials, law enforcement officials and the
general public on the benefits of a legitimate medica! marijuana industry. The
Company is evaluating plans for future seminars.

The seminars and workshops will focus on the entrepreneur and help them find
their niche in the emerging medical marijuana industry. Topics include:

* Applicable law for the cooperative and how to become a caregiver
* Cultivation — indoor, outdoor, hydroponics and aeroponics

¢ Medical uses of cannabis

¢ Taxes, Accounting and Trade -

* Delivery Service

¢ Related industries with the best product to use and distribute

Currently no symposium or seminars are planned pending evaluation of the
business efficacy of this division.

FINANCIAL SOLUTIONS

Medical Marijuana, Inc. had a provisional patent pending for a tax remittance card
which in the early part of 2010 was upgraded and expanded to a utility patent. This
will provide local, state and federal governments with a closed loop financial
accounting system to monitor compliance and collect tax revenues in a near real-
time environment. The Company is also looking to provide an integrated business
system for medical marijuana industry participants, from growers to distributors to
dispensaries. The Company’s patent pending product will ensure compliance with
local, state and federal regulations where it concerns operations and taxation. The
Company is currently looking into different software packages to he able to facilitate
ease of operation and compliance for end users. Using this new invention, the
“Point of Sale” System will recognize the. dispensary’s tax ID number and the tax
rates for state and local taxes as well as provide “Automated Clearing House” (ACH)
settlement of the taxes to the proper financial institutions. The state sales tax
amount is sent to a database and at: the end of the day all money in the sales tax
database is cleared and posted through an “Automated Clearing House” (ACH) to
the state and other appropriate governmental agencies for that days collected sales
tax. The remaining funds are sent to the dispensary’s account or other designations.

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 6 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 7 of 50

This Stored Value Platform System will provide verifiable solutions for an inter-
agency approach to manage the difficult task of Revenue and Taxation Collection for
the emerging medical marijuana industry.

The stored platform cards will be sold by Master Agents around the United States
whereby commissions will be paid on a per transaction basis.

There is also a provisional patent for an.inventory control tracking system that was
also upgraded and expanded in the early part of 2010 to a utility patent. This
system is currently being developed and the Company is in discussions with other
software vendors for integration. This is an all-encompassing product and inventory
management system that provides technologically advanced, comprehensive tools
to the rapidly emerging medical marijuana Industry. This system is designed to
provide industry operators with the necessary tools to confidently track their
valuable inventory at all points along the supply chain from cultivation to retail
sales. The system will provide a dashboard with user definable snapshots of
inventory levels and value at any point in time historical, current or projected to -
give business managers the ability to more effectively manage their businesses.
Dashboards can be distributed in a variety of formats, numerical and textual,
graphical, audio and video.

This System is an integrated “plug and play” network that allows, Grow-Ops,
Distributors, and Co-Ops/Collectives to easily collaborate and build a strong and
diversified supply chain network. The system is modular, scalable, flexible and
dynamic to allow various business models to select only the modules that are
necessary for their particular business model. Other operators in the industry will
also “plug-in” to the network to form a vast integrated network of Grow-Ops,
Distributors, Co-Ops/Collectives and third party product or service providers, all
collaborating cohesively.

This system has a W2W (Wholesale-to-Wholesale). module that will be seamlessly
integrated into a comprehensive pricing and research database that provides a
matrix of fluctuating strains, pricing, and availability from inventory across the
entire Company Network of Co-Ops/Collectives and Grow-Ops. Co-Ops/Collectives
low on inventory, or have overstock inventory, can query and post in real-time
“available-for-trade” inventory levels. The database has over 30 predefined defined
data points such as THC Content, CBA, CBD, etc, as well as an unlimited number of
user/community defined criteria.

The underlying infrastructure is based on a “closed-loop” design to minimize theft
and fraud by identifying unauthorized breaks in the supply chain audit trail in real
time. Business managers can be notified immediately via text message or email on
mobile devices as well as supplying a real-time video feed of suspected activity to
mobile devices. The closed-loop infrastructure also facilitates “patch-tracking” for
recall purposes in the event contaminated product is introduced into the system.

There is also a “Mom & Pop Grow-Op” feature that promotes and supports a small
business boutique model over big agribusiness super-grows that will inevitably
make their way into the industry. Small and tightly controlled Grow-Ops will

Information.and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 7 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 8 of 50

produce more variety and higher quality product than large automated industrial
models. This model has been proven in the micro-brew industry. The Company
chooses a “quality over quantity” approach and long term sustainability over short
term gain.

Even if our patent applications are granted, we can give no assurance that out
patents will provide meaningful protection.against infringement or will not be held
to infringe upon the patent or other commercial rights of others.

Turnkey Business Solutions — the Company will provide Turnkey Business
Management Solutions for Co-Ops, Grow-Op and Distributors as a much needed
service to the rapidly expanding number of businesses in the Medical Marijuana
Industry. There is a high Level of-confusion and contradiction as to the laws and
regulations that apply to this industry. We are stepping up to provide clarity and to
ensure that new entrepreneurs to this industry and existing industry operators are
able to operate efficiently and in full compliance from the first moment they are
open for business. :

Our Turnkey Solutions will be offered in bundles or ala carte once complete. Our
Business Management Solutions provide the following solutions and more:

¢ Local, State and eventually Federal Licensing Services

e Site Location Scouting

e Lease/Contract Negotiation

e Store Design and Built-Out

e¢ Product Sourcing -

* Staffing and Training

¢ Insurance Sourcing, including Health plans for employees, Workers Comp,
Business Liability, and Fire and Theft

e Security Systems and Personnel

¢ Notification and Coordination with local regulatory and law enforcement
officials

¢ Implementation & Support of all Business Systems:

0 Tax Remittance Cards

Point of Saie (POS) Systems

Business Accounting Systems

Inventory Management Systems

Supply Chain Network

Contact/Customer/Vendor Management Systems

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¢ Advertising Programs

e Accounting Services

e Legal Services

¢ Tech Support Services

* The Company’s Industry Newsletters & Magazine

Our Turnkey Business Management Solutions are intended to allow entrepreneurs
to invest in this industry and begin operating worry free right out of the gate,
avoiding the potential pitfalls of starting. a new business in a new and rapidly

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 8 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 9 of 50

emerging industry. We will be working alongside the entrepreneur to provide
solutions to the regulatory and operating environment which has not yet been fully
and clearly defined as in other mature industries.

The Company is the first to step up into. unknown territory becoming the first U.S.
public corporation to enter the medical marijuana industry. Much of the necessary
infrastructure required to efficiently and effectively manage an industry of this
magnitude simply does not exist. We intend to develop groundbreaking systems
and applications to service this emerging industry.

We are currently in discussions with multiple companies for testing, grading and
canabinoid research.

Under new management, future areas of concentration to be entered into include
but are not limited to:

Co-Op/Collective Management — As the market matures, we intend to provide
outsourced management services to dispensaries under contract. We intend to
standardize operations and product selection in its group of managed dispensaries.

Medical Marijuana Business Journal — Industry News, Education and Information —
The Company will distribute an industry magazine that addresses all issues
concerning businesses in the emerging Medical Marijuana Industry.

Hemp Products — We are actively searching for a greatly expandable product line to
increase network marketing production. The Hemp Network was established to
make a real difference in the world by providing high quality hemp and hemp
blended products to a wide marketplace with the use of network marketing.

Medical Marijuana, Inc may also provide institutional level financial services to local,
state and federal governments, testing and certification services, educational
programs, consulting and turn-key solutions to all levels of the government and the
medical marijuana industry. A subsidiary, The Hemp network, sells hemp-based
products to consumers through a network of home based representatives.

In March 2011, the Company entered into a ten year lease with a five year renewal
option for an agricultural and warehouse facility in Gilroy, CA for $15,000. per month
which will commence sometime in the fourth quarter 2011. The Company also
entered into a management agreement for the property with HDDC where-under
the Company will pay HDDC 25% of net profits, for the use of equipping and
maintaining as well as operating the facility which is also looking to commence in
the fourth quarter 2011. Management anticipates significant revenues from this
facility before the end of calendar 2011. We intend to donate 10% of the net profits
of this facility to Our World Health Organization, a non-profit organization. To date
HDDC has invested in excess of $1,500,000 into the facility. To date the company
has decided not to pursue this transaction due to the nature of the legal
environment in California. The company had the option to divest and has at this
time taken such opportunity. All obligations as of this filing have been met.

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 9 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 10 of 50

A lease and a management contract for a facility in Sacramento, CA has been
entered into with HDDC and assigned to the Company. The facility will serve the
needs of health and wellness members in the greater Sacramento area. HDDC
purchased the facility and invested an additional $750,000 to bring the facility up to
HDDC standards. To date the company has decided not to pursue this transaction
due to the nature of the legal environment in California. The company had the
option to divest and has at this time taken such opportunity. All obligations as of.
this filing have been met.

End of Evaluation Section A 8

(Each_one of the following divisions, Strategies, partnerships, business and
operational plans is being evaluated by management_for_ productivity,

rofitability, marketability and to make sure it fits into MJNA business strategies,

the following excerpts were taken directly from_prior managements_annual
reports).

B. Business Development

Medical Marijuana, Inc is currently developing the following divisions and
subsidiaries;

1. The Hemp Network

The Hemp Network’s main objective is to educate the general population about the
versatility and benefits of the hemp plant. By sharing the story of hemp with
individuals across the country and around the world the network strives to raise
awareness and ultimately change public perception about industrial hemp. In
changing public perception, we can help support changes in the laws associated
with the cultivation of industrial hemp and the domestic production of hemp-
related products and services. The Hemp Network currently has in excess of 6500
sales associates selling hemp based and related products in a multiple strategy sales
program, from direct sales to affiliate, to network marketing. The Hemp Network
strives to acquire, develop and sale these-products consumers.

Additional Notes: Currently the Hemp Network has five products. Each product is
being evaluated to maximize profitability and marketability. The company is looking
to expand its portfolio of products.

2. MMI Nutraceuticals

MMI Nutraceuticals is a division of the Company that deals with all of MMI
Nutraceuticals products including CBD (Cannabidiol) and THC Free brands. The team
deals with the development, research, contracting, patents and sales of the
products.

Additional Notes: The CBD product line is expected to generate attention in the

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 10 of 33
Case 1:15-cv-00701-JWF Document 69-4. Filed 11/16/18 Page 11 of 50
United States, because of its purported’ beneficial properties for humans and
animals. Currently we are not aware of any other direct competitors in this
marketplace. The Company will look for distributors to sale the products, as well as
possibly selling through The Hemp Network (a division of Medical Marijuana, Inc.).

3. MMI Biotechnology

MMI Biotechnology is the division that builds and develops specialty equipment and
technology for the medical herbal, pharmaceutical and nutraceutical markets. MMI
Biotechnology is licensed through Hemp Deposit and Distribution Corporation for
the entire western hemisphere. MMI Biotechnology looks to expand its operation
and product development through acquisition. These acquisitions will include
management contracts on hydroponic stores, herbal medical farms and other
medical herb companies.

4, CannaFuel

CannaFuel, is a division of the Company that oversees, coordinates, the research
and development of hemp and other biomass based fuels. Currently the company is
working on syndicating biomass processing facilities as well as and syndicating raw
bio mass materials to be processed into usable Biofuels. The Company is working on
projects in the United States, Canada, Asia and Europe.

5. The Pet Hemp Emporium

Pet Hemp Emporium is a division of the Company that has developed and owns
everyday pet products, consisting of everything from Hemp leashes to Hemp beds
and Hemp based.bio plastics that are much more suitable for pet use then
conventional products that are petroleum (oil) based.

These products are not available directly. to consumers yet. Instead, the Company is
expanding into wholesale distribution and direct distribution to national pet stores
before investigating marketing these products at a retail level.

Additional Notes: Currently, the Company can only supply the products in bulk. The
Company is evaluating the possibility of selling direct to consumer as well as
through The Hemp Network (a division of Medical Marijuana, inc.), but the
minimum quantity required to produce may be less viable for direct sales to
consumers and The Hemp Network.

Subsidiaries
6. Wellness Managed Services, LLC

Wellness Managed Services provides management support and services to
Cooperatives, Collectives, Health and Wellness Facilities and Medical Clinics. The
services range from management to product distribution.

Information and Disclosure Statement Pursuant to Rule 15¢2-11(a)(5) Page 11 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 12 of 50

7. HempMedsRX

HempMeds Rx, LLC is the premier source for quality hemp based health and
wellness products. Our unique and patented ‘and proprietary extraction process
allows us a significant advantage in bringing forth these products to consumers
around the world. The company utilizes the PhytoSPHERE Systems growth and
extraction technology to produce its raw plant materials as well as syndicating its
production from other international producers of hemp. The company is expected
to have it sales site up in the fourth quarter of 2012.

8. Red Dice Holdings (Dixie Brand)

Red Dice Holdings, LLC owns the Dixie Brand of consumable products. The company
utilizes PhytoSHERE Systems to provide all of the necessary hemp based CBD oil.
These products range from a topical salve to the Dixie Dew Drops. The products can
be found at retail locations throughout Colorado. The company intends on
developing its sales through several key areas.

1. Wholesale
2. Affiliated Marketing Sales
3. Retail to Consumers

The company is looking at expanding its wholesale sales into new markets through
state by state distribution contracts and key distribution partners. Affiliated
marketing sales allow for the company to capture sales not directly from its efforts,
but by the efforts of others with online sales and marketing sites. A sale is captured
by the customer clicking its way back to our sales site through banner and sales ad’s
on approved affiliated marketing company sales sites. The company pays those
affiliates a small fee per sale for the life of that client. Retail sales directly to
consumers will take place through a direct marketing effort. These sales will take
place through our online sales site, which the company expects to have completed
in the third quarter of 2012. The company plans on expending a significant amount
of its reserves and operating cash flows on building the marketing efforts of this
product beginning this year and expanding into 2013. Once brand awareness will be
established through online, print, radio and other forms of media, the company
anticipates offers from national and international marketing and distribution
companies, at which time the company may need to re-evaluate and modify its
sales and marketing strategies to conform to a more typical sales and distribution
organization. The company expects: to be the first to market hemp based CBD
products in the United States Market.

9. PhytoSPHERE Systems
PhytoSPHERE Systems, LLC is the world's leading organic cannabinoid based

biotechnology company that builds and develops growing, packaging and extraction
technologies and deploys them in self-contained, highly efficient state of the art

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 12 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 13 of 50

facilities as well as traditional hemp agricultural facilities, for the pharmaceutical
and neutraceutical raw ingredients markets.

The combination of PhytoSPHERE Systems superior technology and proprietary
processes, genetically consistent products, and tissue culture based plants, gives us
the ability to produce the cleanest and highest quality pharmaceutical grade
extracts and compounds currently on the market. Initially, these extracts and
compounds will be used in the manufacture of products to be distributed through _
MJMA's portfolio companies, thereby giving these companies and MJNA a distinct
competitive advantage.

PhytoSPHERE's highly efficient growth, packaging and extraction technologies
provides clients a compact, safe, pollutant-free facility which will allow it to:

e Greatly increase plant production through yields that significantly
exceed traditional methods.

e Completely control the cultivation environment resulting in superior
plant growth, uniform strain purity, quality crop production, and year-
round production potential. .

° Reduce per-unit costs compared to traditional methods by eliminating
the use of pesticides, fungicides and herbicides.

e Produce Pharmaceutical grade extracts.

° Establish antibacterial environments and packaging systems.

e Control post production processing with proprietary standardization
methods.

PhytoSPHERE's core technologies consist of:

¢ A module that places rows of plants perpendicular to an interior light
source, which helps accelerate the growth rate and efficiency of the
particular plant that is being cultivated.

« Computer operated sprayers ensure even distribution of nutrient
feeding solutions to the crops resulting in an abundance of plants with
strong, compact, and multi-directional growth. This state-of-the-art
technology is fully contained, meaning crops can be grown year-round
in any location using precise combinations of light, water, and nutrients
to maximize production.

e A proprietary antibacterial product clipping, curing and “packaging
system, allowing for a truly pharmaceutical grade method of cultivation.

e An extraction and production process for cannabinoid based
compounds derived from the cannabis plant, which uses standardized
processes and technology to create the world's leading pharmaceutical
grade extracts.

PhytoSPHERE Systems is developing several international hemp production facilities
which crops will be harvested some time in 2012. These facilities will take a
signification amount of resources and capital from the company. The company
supplies all of its affiliates, subsidiaries and product manufactures with its oil. This
gives the company a strategic advantage over other future potential competitors, in
the fact that it has built in clientele. The company is also evaluating selling its CBD
oil to other manufactures of non-competing products, there is significant market

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 13 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 14 of 50

awareness for the product. The Company expects to allocate an additional $1.9 to
$2.2 million dollars this year to the development of PhytoSPHERE’s production
capabilities, oil extraction, preservation technologies and genetics for its cultivars.
The company is currently evaluating several key candidates to further the
development of the company’s sales. To date a significant amount of the
company’s revenues have been from the licensing of its oil production and the sales
of its oil.

10. CanCHEW Bio-Technologies

CanChew Biotech focuses on the treatment of pain and other medical disorders with
the application of chewing gum based cannabis/cannabinoids medical products. The
company targets research and execution of their clinical development plan and
subsequently out licensing of their technology. The development focuses on the
R&D of the formulation, production and the development of chewing gum based
products in their respective fields e.g: for the treatment of numerous diseases like
pain, nausea and vomiting, anorexia, spasticity and various other symptoms.

Product Development

CanChew Biotech has a patented technology i in 111 Countries which comprises the
inclusion of regulatory acceptable active pharmaceutical ingredients [AP!] of the
cannabinoid variety in a patented and proprietary chewing gum delivery
formulation. CanChew® for medical purposes, specifically pain treatment associated
with a variety of long term, chronic or degenerative diseases whereby cannabinoid
therapy is finding increasing application in a global marketplace.

CanChew Advantage

The CanChew® formulation offers a unique, socially acceptable, patient friendly,
taste masked and convenient delivery format for delivery of the
cannabis/cannabinoid(s) based medicine via the oral mucosal membranes.
CanChew's full oral-oropharyngeal mucous membrane delivery method is superior
to other delivery methods.

Advantages of Oral Mucosal Drug Delivery system:

e Bypass of the gastrointestinal tract and hepatic portal system,
increasing the bioavailability of orally administered drugs that otherwise
undergo hepatic first-pass metabolism.

¢ Drug is protected from degradation due to pH and digestive enzymes of
the middle gastrointestinal tract. ,

e Improved patient compliance due to the elimination of associated pain
with injections.

e Sustained drug delivery.

e 6A relatively rapid onset of action can be achieved relative to the oral
route.

¢ Oral mucosal systems exhibit z a faster initiation and decline of delivery
than do transdermal patches.

e The large contact surface of the oral cavity contributes to ) rapid and
extensive drug absorption.

Information and Disclosure Statement Pursuant to Rule 15¢2-1 1(a)(5) Page 14 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 15 of 50 ©

Item III

The company has located a GMP Dietary Supplement and nutraceuticle
manufacturer for it’s over the counter product. The company is currently looking for
a GMP Pharmaceutical manufacturer for its Pharmaceutical Drug, Clinical
development and trials. The two require different GMP certifications. The
Pharmaceutical\Drug GMP certification is much more strenuous and is required for
our clinical development. The company expects to have its soft launch in the fourth
quarter 2012 and its hard launch in the first half of 2013.

Medical Marijuana, Inc is currently working with the following affiliates;

1. CannaBANK

CannaBANK performs Mergers and Acquisitions and acts as a conduit through which
assets are transferred from Hemp Deposit and Distribution Corporation to Company
pursuant to the Agreement dated March 23, 2011. CannaBANK is also financing the
acquisitions and development of certain approved purchases, acquisitions and
products. CannaBANk is at the forefront of Hemp based investments. CannaBANK in
provided $4 million in financing for the acquisition and development of several
pending transactions, including the Dixie Elixars Brand, PhytoSphere Systems,
CanChew Bio-technologies, several cannabinoid based hemp delivery systems and
several Wellness Managed Services accounts. Please see exhibits.

The nature of products or services offered.

Currently the entire Company product and service portfolio is being evaluated by new
management for marketability and profitability.

The current products include:

Hemp extract from the hemp plant which contain high levels of Cannabidiol also known
as CBD. These CBD products will have different applications from a topical lotion, mister
for your skin, to a raw crystal formula for distributors, nutraceutical and pharmaceutical
companies. The CBD products are derived from legal hemp farms international and to
be sold as dietary supplements or as an‘additive to other products. Hemp Network has a
diverse network of products that range from hemp aloe to hemp energy drinks. Some of
these hemp-based products are textiles.

The Company has entered into multiple joint ventures, more detail in the financial
footnotes attached herein. The Company anticipates several updates in the coming
quarters. ,

Wellness Managed Services has seen strong growth over the past few quarters and we
expect that growth to continue through the acquisition and development of Collectives,
Cooperatives, Health and Wellness facilities and Medical Clinics. In the third (3) quarter

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 15 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 16 of 50

of 2012 the company will focus heavily on the development of this company for several
reasons.
a. The accounts provide in most cases an immediate cash flow
b. In most cases the account have additional shelf space for our products
c. In most cases the accounts provide direct sales access for our products to end
consumers and most importantly to the individuals who recommend specific
products
d. Because the accounts in most cases are established businesses our operating
costs are much less because we aggregate the operating costs in administration,
legal, accounting and marketing giving the company a strategic advantage .
e. The company anticipates a change in the market in the next twenty four (24) to
thirty six (36) months that will make the shelf space and distribution channels
much more valuable than in today’s market

The company is in the process of evaluating several potential employees or new
hires to run and further develop Wellness Managed Services. The company will
have a website and specialized developed in the second (2°) quarter to
specifically focus on the development of its operations

HempMeds Rx, LLC is the premier source for quality hemp based health and
wellness products. Our unique and patented and proprietary extraction process
allows us a significant advantage in bringing forth these products to consumers
around the world. The company utilizes the PhytoSPHERE Systems growth and
extraction technology to produce its raw plant materials as well as syndicating its
production from other international producers of hemp. The company is expected
to have it sales site up in the fourth quarter of 2012.

Red Dice Holdings, LLC owns the Dixie Brand of consumable products. The company
utilizes PhytoSHERE Systems to provide all of the necessary hemp based CBD oil.
These products range from a topical salve to the Dixie Dew Drops. The products can
be found at retail locations throughout Colorado. The company intends on
developing its sales through several key areas.

1. Wholesale
2. Affiliated Marketing Sales
3. Retail to Consumers

The company is looking at expanding its wholesale sales into new markets through
state by state distribution contracts and key distribution partners. Affiliated
marketing sales.allow for the company to capture sales not directly from its efforts,
but by the efforts of others with online sales and marketing sites. A sale is captured
by the customer clicking its way back to our sales site through banner and sales ad’s
on approved affiliated marketing company sales sites. The company pays those
affiliates a small fee per sale for the life of that client. Retail sales directly to
consumers will take place through a direct marketing effort. These sales will take
place through our online sales site, which the company expects to have completed
in the third quarter of 2012. The company plans on expending a significant amount
of its reserves and operating cash flows on building the marketing efforts of this
product beginning this year and expanding into 2013. Once brand awareness will be

Information and Disclosure Statement Pursuant to Rule 15¢2-11(a)(5) Page 16 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 17 of 50
established through online, print, radio. and other forms of media, the company
anticipates offers from national and international marketing and distribution
companies, at which time the company may need to re-evaluate and modify its
sales and marketing strategies to conform to a more typical sales and distribution
organization. The company expects to be the first to market hemp based CBD
products in the United States Market.

PhytoSPHERE Systems, LLC is the world's leading organic cannabinoid based
biotechnology company that builds and develops growing, packaging and extraction
technologies and deploys them in self-contained, highly efficient state of the art
facilities as well as traditional’ hemp agricultural facilities, for the pharmaceutical
and neutraceutical raw ingredients markets.

The combination of PhytoSPHERE Systems superior technology and proprietary
processes, genetically consistent products, and tissue culture based. plants, gives us
the ability to produce the cleanest and highest quality pharmaceutical grade
extracts and compounds currently on the market. Initially, these extracts and
compounds will be used in the manufacture of products to be distributed through
MJMA's portfolio companies, thereby giving these companies and MJNA a distinct
competitive advantage.

PhytoSPHERE's highly efficient growth, packaging and extraction technologies
provides clients a compact, safe, pollutant-free facility which will allow it to:

¢ Greatly increase plant production through yields that significantly
exceed traditional methods.

e¢ Completely control the cultivation environment resulting in superior
plant growth, uniform strain purity, quality crop production, and year-
round production potential.

e Reduce per-unit costs compared to traditional methods by eliminating
the use of pesticides, fungicides and herbicides.

e Produce Pharmaceutical grade extracts.

e Establish antibacterial environments and packaging systems. .

¢ Control post production processing with proprietary standardization
methods. -

PhytoSPHERE's core technologies consist of:

e A module that places rows of plants perpendicular to an interior light
source, which helps accelerate the growth rate and efficiency of the
particular plant that is being cultivated:

e Computer operated sprayers ensure even distribution of nutrient
feeding solutions to the crops resulting in an abundance of plants with
strong, compact, and multi-directional growth. This state-of-the-art
technology is fully contained, meaning crops can be grown year-round
in any location using precise combinations of light, water, and nutrients
to maximize production.

¢ A proprietary antibacterial product clipping, curing and packaging
system, allowing for a truly pharmaceutical grade method of cultivation.

e An extraction and production process for cannabinoid based
compounds derived from the cannabis plant, which uses standardized

Information and Disclosure Statement Pursuant to Rule 15¢2-11(a)(5) Page 17 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 18 of 50
processes and technology to create the world's leading pharmaceutical
grade extracts.

PhytoSPHERE Systems is developing several international hemp production facilities
which crops will be harvested some time in 2012. These facilities will take a
signification amount of resources and capital from the company. The company
supplies all of its affiliates, subsidiaries and product manufactures with its oil. This
gives the company a strategic advantage over other future potential competitors, in
the fact that it has built in clientele. The company is also evaluating selling its CBD
oil to other manufactures of non-competing products, there is significant market
awareness for the product. The Company expects to allocate an additional $1.9 to
$2.2 million dollars this year to the development of PhytoSPHERE’s production
capabilities, oi! extraction, preservation technologies and genetics for its cultivars.
The company is currently evaluating. several key candidates to further the
development of the company’s. sales. To date a significant amount of the
company’s revenues have been from the licensing of its oil production and the sales
of its oil.

CanChew Biotech focuses on the treatment of pain and other medical disorders with
the application of chewing gum based cannabis/cannabinoids medical products. The
company targets research and execution of their clinical development plan and
subsequently out licensing of their technology. The development focuses on the
R&D of the formulation, production and the development of chewing gum based
products in their respective fields e.g: for the treatment of numerous diseases like
pain, nausea and vomiting, anorexia, spasticity and-various other symptoms.

Product Development

CanChew Biotech has a patented technology i in 111 Countries which comprises the
inclusion of regulatory acceptable active pharmaceutical ingredients [AP|] of the
cannabinoid variety in a patented and proprietary chewing gum delivery
formulation. CanChew® for medical purposes, specifically pain treatment associated
with a variety of long term, chronic or degenerative diseases whereby cannabinoid
therapy is finding increasing application in a global marketplace.

CanChew Advantage

The CanChew® formulation offers a unique, socially acceptable, patient friendly,
taste masked: and convenient’. delivery format for delivery of the
cannabis/cannabinoid(s) based medicine via the oral mucosal membranes.
CanChew's full oral-oropharyngeal mucous membrane delivery method is superior
to other delivery methods.

Advantages of Oral Mucosal Drug Delivery system:

e Bypass of the gastrointestinal tract and hepatic portal system,
increasing the bioavailability of orally administered drugs that otherwise
undergo hepatic first-pass metabolism.

° Drug is protected from degradation due to pH and digestive enzymes of
the middle gastrointestinal tract.

¢ Improved patient compliance due to the elimination of associated pain
with injections.

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 18 of 33
Case 1:15-cv-00701-JWF ' Document 69-4 Filed 11/16/18 Page 19 of 50

e Sustained drug delivery.

e A relatively rapid onset of action can be achieved relative to the oral
route.

e Oral mucosal systems exhibit a faster initiation and decline of delivery
than do transdermal patches.

e The large contact surface of the oral cavity contributes to rapid and
extensive drug absorption.

The company has secured a GMP Dietary Supplement and nutraceuticle manufacturer
for it’s over the counter product. The company is currently looking for a GMP
Pharmaceutical manufacturer for its Pharmaceutical Drug, Clinical development and
trials. The two require different GMP certifications. The Pharmaceutical\Drug GMP
certification is much more strenuous and is required for our clinical development. The
company expects to have its soft launch in the fourth quarter 2012 and its hard launch
in the first half of 2013. The company expects to expend a significant amount of capital
developing the over the counter product and significantly more for the clinical
development. It is unknown at this time how much capital will be needed for this
expansion.

The company anticipates starting its clinical trials in Europe in 2013 and the overall
clinical development taking three to five years. The company has a significant strategic
advantage to its product and the development of this business.

1. The company has developed an over the counter product which will be available for
sale in the coming quarters. Most companies developing .a pharmaceutical drug
company do not also have a product for sale on the over the counter market. This gives
the company the ability to fuel its own growth and the growth of its Pharmaceutical
unit.

2. The product is patented in 111 counties.

3. It has a much greater efficacy over traditional methods of consuming cannabinoid
based products. .

4. The safety profile of its API’s allow for a more attractive sponsoring university and
doctors.

Item X The nature and extent of the Company’s facilities
The Company has executive offices at:
Corporate Office
Medical Marijuana Inc.
2665 Ariane Drive Suite 207
San Diego, CA 92117

Toll Free: 877-770-3838
Facsimile: 888 651-0349

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 19 of 33
Case 1:15-cv-00701-JWF ‘Document 69-4 Filed 11/16/18 Page 20 of 50
Email: Info@medicalmarijuanainc.com
URL: www.medicalmarijuanainc.com

CanChew Bio-Technologies
Kuyperstraat 5

3404 HL ljsselstein, Netherlands
Toll Free: 877-770-3838
Facsimile: 888 651-0349

Email: Info@canchewbiotech.com
URL: www.canchewbiotech.com

Part D Management Structure and Financial Information .

Item XI Information on Executive Management Team, Board of Directors and Advisory Board.

The Company is in process of interviewing additional candidates from a select group of highly
skilled potential operating officers. The positions consist of board members, advisory
committees as well as executive management team members. This process is not to be rushed,
it is imperative to establish a solid team of highly skilled managers and directors since a new
change in management was finalized.

A. Post-March 23, 2011 Interim-Transition-Officers_and Directors. The Company _is
evaluating several professional individuals to fill vacancies and will disclose at such time

as appointed.

Board of Directors

The Company’s Board of Directors is comprised of highly qualified and industry professionals. The
Board assists the Management team in making appropriated decisions and taking effective action.
Currently there are three members on the board.. :

Chairman Michelle Sides
Director Michael Llamas
Director Ted Caligiuri -
Director Gideon Wolf
Director David Farrand

Advisors to the Board

The Company has an informal Advisory Board that is available to provide business advice and
counseling to the Management Team of the Company. The Advisory Board is appointed by the
President and/or other key executive members, and does not involve itself in any matters involving
corporate governance of the Company. We do not have an advisory board at this time but are
speaking with potential members.

Information and Disclosure Statement Pursuant to Rule 1 5c2-11(a)(5) Page 20 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 21 of 50

Advisory Committees

Risk Management Committee
Vernon Darrimon

Agricultural Committee

Gideon Wolff
David Farrand

Management

Michelle Sides

Chairman of the Board, Chief Operating Officer
- 2665 Ariane Drive, Suite 207

San Diego, CA 92117

Prior to joining Medical Marijuana Inc., Ms. Sides was Chief Operating Officer for HDDC d/b/a
CannaBank, Inc, located in San Diego, California. She earned her law degree from Nova Southeastern
University. Member of the Florida State Bar Association. Holds a Bachelor of Science Degree from
Palm Beach Atlantic College, majoring in Business and Organizational Management. Before joining
the North American Team, Michelle spent six years as Board of Director, Executive Vice President
and General Counsel for EH Building Group II, LLC which was nationally recognized as one of the fast
growing developers in 2006-08 winning numerous awards for production, design and marketing.
Prior to EH, Michelle honed her legal expertise as Legal and Operations Manager for the
Commonwealth Network Corporation, as well as the Director of Legal Affairs for Power Sports, Inc.
Both of these positions focused mainly on corporate and real estate transactional law.

Ms. Sides is on the Board for Hemp Deposit and Distribution Corporation.
Ms. Sides does not own Medical Marijuana, Inc. shares as of this date.

Michael Llamas

Director, interim-President
2665 Ariane Drive, Suite 207
San Diego, CA 92117

Prior to acting as the interim President of the Company, Mr. Llamas ‘co-founded North American
Companies, a real estate development and acquisitions firm specializing in all areas of distressed
debt. The Company has been involved in excess of ten billion dollars in transactions ranging from oil
and natural gas to real estate development.. Currently Mr. Llamas is President and a board member
of HDDC, d/b/a CannaBANK, Inc., a mergers and acquisitions firm specializing in the capitalization
and development of national and international hemp based companies. These products range from
raw hemp to hemp-based bio fuels.

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 21 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 22 of 50

Mr. Llamas does not personally own Medical Marijuana, Inc. shares as of this date but does have
control of shares through HDDC.

Dr. Philip A. Van Damme

. Director, CanChew Bio-Technologies
Kuyperstraat 5
3404 HL ljsselstein, Netherlands

Dr. Philip. A. Van Damme, DMD MD PhD, was born in Yerseke, The Netherlands Dr. Van Damme is an
oral & cranio-maxillofacial surgeon living and working i in the Netherlands.

Dr. Van Damme first studied dentistry at the Utrecht University Dental School (Rijksuniversiteit
Utrecht, The Netherlands) from 1971 through February 1977. He then fulfilled his military duty in
the Dutch Royal Navy from May 1977 through October 1978, as Lieutenant-Dentist. Dr. Van Damme
studied medicine at the Utrecht University Medical School, the Netherlands from 1978 through
January 1983. He trained in general surgery at the Joannes de Deo Stichting Hospital from July 1983
through April 1984, while taking the International ECFMG/VQE examinations in Paris, France.Dr. Van
Damme was trained in Oral & Maxillofacial Surgery in the University Hospital Nijmegen, The
Netherlands from May 1984 through May 1988. .

His PhD Thesis titled: Sub periosteal Palatal Soft Tissue Expansion was submitted on December 6,
1996 at the Nijmegen University (Katholieke Universiteit Nijmegen).Dr. Van Damme has been
Section Editor of the Journal of Cranio-Maxillo Facial Surgery, for the sections Research,
Development and New Horizons, and Reviewer for different other scientific journals, There are more
than 70 PubMed listed publications and he presented more than 100 times at national and
international scientific meetings.In 2004, Dr. Van Damme had dual roles of being Visiting Professor
in the Mount Sinai Hospital in New York, USA, and Visiting Surgeon in the Burdenko Institute in
Moscow, Russia. in subsequent years he held numerous staff positions at several well respected
medical clinics in the Netherlands. Together with Prof. George E. Anastassov MD DDS FAC, he has a
patent application (US20110097283 — EP2280687 — CA2719830) on chewing gum compositions
comprising Cannabinoids.

In December 2007, he became Director-owner of Mareda Holding BV (investment company) and
President-founder of Stichting Sanammad (intellectual property foundation) together with Lekhram
Changoer MSc BSc). .

Dr. Philip A. Van Damme owns 2,500,000 shares of Medical Marijuana Inc.

Dr. George E. Anastassov

Director, CanChew Bio-Technologies
Kuyperstraat 5

3404 HL ljsselstein, Netherlands

Dr. Anastassov graduated with BA Degree in Fine Arts, followed by MD Degree and a DDS Degree,
and currently is completing his Executive Physician MBA degree.

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 22 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 23 of 50
Dr. Anastassov is trained in Surgery, Oral and Maxillofacial Surgery, Plastic Surgery and Craniofacial
and Base of the Skull Surgery both in the United States and Europe. His training was acquired at the
following institutions: A Fellowship in Cranio-Maxillofacial Surgery (Prof. H.P.M. Freihofer), The
Catholic University, St. Radboud Hospital, Nijmegen, the Netherlands, Residency at the Départment
of Oral and Maxillofacial Surgery, Montefiore Medical Centre, Albert Einstein College of Medicine,
New York , Followed by a further Fellowship in Craniofacial and Base of Skull Surgery, at the
department of Cranio-Maxillofacial and Plastic and Reconstructive Surgery (Prof. Dr. Dr. Dhe Ulrich
Joos), Wilhelms University, Minster, Germany. .

He has variety of clinical and administrative appointments including Associate Clinical Professor
Maxillofacial Surgery, The Mount Sinai Schoo! of Medicine, Associate Director, Department of
Maxillofacial Surgery, Elmhurst Hospital Centre; N.Y., Attending, Department of Maxillofacial
Surgery, The Mount Sinai Hospital. New York. Consultant in Maxillofacial Surgery, Bronx VA Hospital
Centre, N.Y., Attending Surgeon, Department of Otolaryngology/ Head and Neck Surgery, Beth Israel
Medical Centre, New York. He also.is a Visiting Professor, Department of Cranio-Maxillofacial
Surgery and Plastic and Reconstructive Surgery, Wilhelm’s University, Munster, Germany.

- He is the principal at Maxillofacial Surgery Services in New York City.

Editorially, Dr Anastassov is presently active as Editorial Consultant for ‘Head and Face Medicine’,
‘Graefe’s Archives for Clinical and Experimental Ophthalmology’, Journal of Oral and Maxillofacial
Surgery’, ‘The Journal of Oral Surgery, Oral Medicine, Oral Pathology and Radiology’, ‘Issues in
Maxillofacial, Plastic and Reconstructive Surgery, Implantology and Clinical Stomatology’ and
‘Craniomaxillofacial Trauma and Reconstruction’. He is on the Editorial Board of ‘The International
Journal of Oral and Maxillofacial Surgery’ and ‘Folia Medica’.

Dr. Anastassov holds 9 US & European Professional Society Memberships and is double board
certified. Dr. Anastassov has published books and chapters in 3 professional textbooks as well as 46
peer-reviewed journal publications and has presented in as an invited guest lecturer on 104 national
and international professional meetings.

Dr. Anastassov owns 2,500,000 shares of Medical Marijuana Inc.

Lekhram Changoer

Director, CanChew Bio-Technologies
Kuyperstraat 5

3404 HL ijsselstein, Netherlands

Lekhram Changoer was born in Surinam (South America). Lekhram holds a Bachelor Degree in
Analytical/Organic Chemistry and Masters Degree in Organic Chemistry. He has over 20 years of
experience in the area of Sales & Marketing, R&D, product development, and quality assurance of
technical, consumer healthcare and pharmaceutical products — all servicing European and other
international markets.

In 1992 Lekhram first joined |WC Chemical products BV where he was responsible for the
development of functional coatings and corrosion inhibitors for the chemical industry: Yara, Kemira,
and others. In his second corporate role, Lekhram joined Scott Specialty Gases BV where he was
responsible for managing the R&D, QC. and QA of functional calibration gases for the petrochemical

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 23 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 24 of 50
and automotive Industry for companies such as Mercedes Benz, Rolis Royce, Dera, Shell, Exxon, and
General Electric.

_ In the area of consumer healthcare products, Lekhram worked on the development of cosmetics
and medical device products for various retail chains and consumer healthcare companies. At Codi
International BV he was responsible for managing product development in the field of wet wipes
and successfully developed products for companies such as Proctor & Gamble, Sara Lee, Henkel and
Reckitt Benckiser. In 1999 Lekhram’s career took him to Royal Sanders BV with the position of R&D
& QC manager — here, he was responsible for the development of cosmetics, medical devices and
other healthcare products for clients: Sara Lee, Colgate Palmolive, Virgin Cosmetics, Keune
Cosmetics and private labels for various retail chains: Ahold, AC Watson, DM and Rossmann.

In 2002 Lekhram joined the Ardoz/NGen group of companies as a Managing Director. During his
tenure his achievements included the filing new patents in the field of active oxygen therapy. This
incorporated the accreditation of the products by the Dutch Skin Foundation and the British Dental
Health Foundation. He developed new oral healthcare drug applications for periodontitis, peri-
implantitis / bone repair and oral mucositis. The OTC products with active oxygen, amongst others
also a new chewing gum application (for Perfetti van Melle in Italy), were successfully launched
under his directorship in markets at: Boots, Ahold and El Corte Ingles Pharmacy retail and pharmacy
chains under the cosmetic 76/768/EEC and medical device 93/42/EEC directive.

In 2010 Lekhram co-founded APeT BV (www.apetholding.com) which focuses on a first of its kind
patented therapy for psychiatric diseases like ADHD and Autism as a replacement for
methylphenidate and analogs. This therapy involves an in-house developed diagnostic and
treatment with the human body’s own internal compound(s). The impact on national healthcare has
been so important that he has been able to get the largest Dutch insurance company to fund the
clinical trial, after which it will most probably become the new standard of care. A new patented
pharmacotherapy was filed, which will guarantee protection of the therapy as well as patient
therapy loyalty. .

‘In association with Prof. George E. Anastassov MD, DDS, FAC and Dr. Philip A. Van Damme, DMD,
MD, PhD, the Sanammad Foundation (www.sanammad.com) was established in 2010 - the
Sanammad Foundation holds internationally patented technology on chewing gum compositions
comprising Cannabinoids.

Lekhram is also involved and co-founder in: CFM Pharma BV (www.cfmpharma.com) which holds
patented technologies and focuses on the prevention of secondary injury in indications such as deep
burn wounds, myocardial infarct and general trauma. GCP Dental BV (www.gcp-dental.com) has
developed a 100% patented biocompatible material for restorative dental applications (where Glass
Carbomer® Technology allows the tooth to heal itself) with’a global market approach.

Mr. Changoer owns 2,500,000 shares of Medical Marijuana Inc.

Robert R. Ghalili, DMD,
Business Development
Kuyperstraat 5

3404 HL Ijsselstein, Netherlands

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 24 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 25 of 50

Dr. Babak (Bob) Ghalili is a graduate of Brandeis University. His BA is that of a triple major in Biology,
Chemistry and Bio Chemistry. At UMDM4J, Dr. Ghalili was awarded his degree in Periondontics and
was among the top ranking graduates in his class.

Dr. Ghalili has been involved in the research of immunolgy and rheumatology for many years. He has
collaborated with world renowned scientists Albert Nisenoff and K. Frank Austin. Also, Dr. Ghalili has
published numerous articles in both mainstream publications as well as scientific journals.

Lecturing both nationally and internationally, Dr. Ghalili has done extensive research which have
resulted in multiple patents. His involvement in the development of innovative healthcare solutions
has been recognized by both his peers and the educational community. His lectures regarding Bone
Grafting, Implant and Reconstructive Surgery as well as Implant Design have been attended
domestically and globally by some of the most respected Periodontists worldwide.

Dr. Ghalili has been involved in numerous ventures in the healthcare and wellness industry. His
dedication to the integrity of the projects he has been a part of have earned him the respect of the

-. medical community. Dr. Ghalili has made improving the quality of life for the patient his personal
mission. {t is with that goal in mind that Dr. Ghalili pursues the latest technology available to assist in
this important achievment.

Dr. Ghalili owns 5,000,000 shares of Medical Marijuana Inc.. .

Tripp Keber
President, Red Dice Holdings

Chuck Smith
Chief Operating Officer, Red Dice Holdings

B. Legal/Disciplinary History

None of the above named persons have been the subject of:

1. A conviction in a criminal proceeding or named as a defendant in a pending criminal
proceeding within the past five years

2. The entry of an order, judgment or decree not subsequently reversed, suspended or vacated
by a court of competent jurisdiction that permanently or temporarily enjoined, barred,
suspended, securities, commodities, or banking activities.

3. A finding or judgment by a court of competent jurisdiction (in a civil action), the Securities
and Exchange Commission, the Commodity Futures Trading Commission or a state securities
regulator of a violation of federal or state securities or commodities law, which finding or
judgment has not been reversed, suspended or vacated or,

4. The entry of an order by a self-regulatory organization that permanently or temporarily
barred, suspended or otherwise limited such person’s involvement in any type of business
or securities activities.

C. Disclosure of Family Relationships
Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 25 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 26 of 50

There are no family relationships among and between the Company’s directors, officers,
persons nominated or chosen by the Company to become directors or officers, or beneficial
owners of more than five percent (5%) of any class of the Company’s equity securities.

D. Disclosure of Related Party Transactions.

The Company has participated in related party transactions within the past two years as stated
herein. The Company has entered into an agreement with a Hemp Deposit and Distribution
Corporation Via CannaBANK, a beneficial owner of more than five (5%) percent for the
development and acquisition of several key company acquisitions. Please see attached exhibit.

Item XII Financial Information for the Issuer’s most recent fiscal period

Financial information is included as an attachment as an exhibit to this statement.

Item XIII Similar financial information for such part of the preceding fiscal years as the issuer or its
predecessor has been in business.

Financial information is included as an attachment as an exhibit to this statement.

item XIV Beneficial owners

Beneficial Owners of 5% or more:

Name Address _ > + Shares or Controlled Percent
Hemp Deposit and Dist. Corp. 2665 Ariane Dr Ste 207 _ 265,400,000 A8%*
Its affiliates San Diego, CA 92117

TOTAL SHARES HELD BY BENEFICIAL OWNERS _ 265,400,000

Based on total issued and outstanding shares of 558,565,764.

Item XV The name, address, and email address of each of the following outside providers that advises
the Company on matters relating to operations, business development and disclosures.

1. Investment Banker
None at this time- Actively Searching

2. Promoters
None at this time- Actively Searching

3. Security and Exchange Counsel

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 26 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 27 of 50
Securities Attorney
Frank J. Hariton, Esq.
1065 Dobbs Ferry Road
White Plains, NY, 10607
United States

Law Offices of Michael Corrigan
Michael Corrigan, Esq.

Carmei Valley Centre II.

11995 El Camino Real, Suite 301
San Diego, CA, 92130

4. Auditor
None at this time- Actively Searching

5. Public Relations Consultants
None at this time- Actively Searching

6. Investor Relations Consultant
SmallCapVoice.Com, Inc.

Stuart T. Smith

Phone: 512 267-2430
Facsimile: 512 267 2530
www.smallcapvoice.com
ssmith@smallcapvoice.com

7. Company Consultants

Equiti-Trend Advisors, LLC
Carmel Valley Center II

11995 El Camino Real, Suite 301
San Diego, CA 92130

(800) 953-3350
admin1@equititrend.com
www.edquititrend.com

Item XVI Management’s Discussion and Analysis of Plan of Operations from 3 Quarter 2011 Through
1* Quarter 2012

A. Plan of Operation

The Company has three very critical paths of operating its business in 2011. The first is the
Hemp Extract Cannabidiol (CBD) product line. Medical Marijuana, Inc. cannot make any medical

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 27 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 28 of 50

claims for the treatment, diagnosis or curing of any diseases or ailments, because the product is
not FDA approved, nor is the Company intending to seek that approval in the near future. The
company plans on selling the product to Nutraseuticle and Pharmaceutical companies as a raw
ingredient and is also planning on selling in its. own products as a dietary supplement.
Cannabidiol is an extract taken from the hemp plant.

The Company has assessed the marketability of the product and product line and sees this
product line as a major contributor of value over the course of the fiscal year ending 2011, as
well as a major contributor of revenue and earnings in 2012. Price points for Cannabidiol from
such companies as Cerilliant (www.cerilliant.com) and Carman Chemicals
(www.caymanchem.com) range from as low as $23 a milligram to as much as $350 a milligram
in single milligram purchases, to as low as $8.60 a milligram for a bulk purchase. A more in
depth compilation is being compiled for evaluation. These results will be published in the
coming quarters. The Company is currently working with distributors in the United States, Latin
America and Asia to distribute the product line. These arrangements are critical to the
timeframe in which revenue will accrue for the Company. Direct sales are also being looked at
through The Hemp Network. The products will also become available through health and
wellness facilities already aware of Cannabidiol and related products. Currently there are over
2,200 accounts in the Company’s database to submit products to, this database to come public
in the coming quarters via an online site that will Jist all of the health and wellness facilities.

The company is in the process of syndicating additional production of high Cannabidiol (CBD)
rich hemp for planting. The company is focused on several key markets North America Via
Canada, Europe via Romania, France, Spain and or the Netherlands, these key markets are
countries that allow for the cultivation of industrialized hemp containing less than .3% THC. The
development, acquisition and integration of additional suppliers and farmers is key to the
success of several of our key business such as HempMedsRX, The Hemp Network and can
negatively affect Wellness Managed Services and the company as well if we are not able to
acquire or source additional supplies of our raw ingredients. In which case we will have to then
focus our resources on the development once acquire\if acquired of Phytosphere systems for
the specific purposes of supplying the raw ingredients for several of our key products. There is
no way of knowing if Phytosphere will be acquire or additional supply of the raw ingredients for
our products can and will be acquired\sourced.

More discussion to future evaluations on marketability will be discussed in the near future.

The second critical path for 2011 was the development of the Company’s county operating
procedure package for patients and caregivers. Each procedure package is created specifically
for each individual state, as well as for each legal county and city within that county where
medical marijuana is legal. Until recently the federal government did not define “caregiver”. The
Company believes this has now been clearly defined in the most recent address from the
Attorney General's office in a memo dated June 29, 2011 by US Deputy Attorney General James
M. Cole. With such clarity, the Company is now able to start on the sales of its county-by-county
operation procedures for patients and caregivers. These procedures include operational
guidelines for tracking, use tax, storage, and compliance. We believe the County Program will be
another valuable source of revenue in the coming quarters and into 2012.

The third critical path for the Company is The Hemp Network. The Company is currently looking
to expand The Hemp Network products line and increase its distributor base for expanded

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 28 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 29 of 50
distribution. The use of Hemp is growing dramatically and will continue to grow as new uses for
it are constantly being developed. The Hemp Network is looking to expand its product line to
match the demand growth. At the time new management took over the Company, the Hemp
Network had launched two products: a hemp blend with mushrooms and fish oil and a hemp
omega line. Both products had minimal sales. To date The Hemp Network now has in excess of
twenty products for the new Hemp Network 2.0 which is expected to launch in the fourth
quarter. Several issues were found with the tracking system Apogee. These are being corrected,
a new website for the division has also been created and the back end shopping carts for the
affiliate and multi sales program being developed which will accompany the Hemp Network 2.0
launch. The Hemp Network currently has in excess of 6500 sales agents awaiting the Jaunch. The
Hemp Network will also sell Cannabidiol (CBD) based products to its client base. The websites
for both the Company and The Hemp Network have undergone significant restructuring to
vastly improve user access to industry information as well as products. In conjunction with
Apogee, the Company is creating a more productive and cost efficient system to be utilized for
the various divisions. More discussion regarding other potential products and marketability shall
be discussed in the near future. Since the close of the forth (4°) quarter the company has made
progress towards additional products and distributors. The company anticipates several updates
on this discussion topic in the second (2"°) and third (3) quarters of 2012.

Additional Notes 1* Quarter 2012 -

MJNA acquired a fifty percent interest in Cannabis Marketing Group, a company consisting of
highly skilled internet and video marketing executives. Cannabis Marketing Group is not
expected to become profitable in the near future but is intended to cut the costs of website
development, online marketing, advertisements and email response and marketing campaigns
by directly supporting these efforts instead of outsourcing these tasks. This company will be
crucial in the awareness of the brand and products. The agreement calls for MJNA to issue
$200,000.00 worth of Company which to date has not been issued.

Additional Notes 2™ Quarter 2012

The company in the second quarter of 2012 has closed on several key transactions. The first it
with Canchew bio-technologies. The second is with Red Dice Holdings. The Third is the
development of Hemp Meds RX. And the Fourth is with Phytosphere systems formation and
development.

The company has allocated from Cannabank’s equity $1.45 million worth of stock to complete
the Red Dice Holdings transaction. The company also anticipates using cash flow from
operations to fund the expansion of the brand and development of additional products, or it will
seek to raise additional capital. The company sees a large opportunity to market and sale the
branded products worldwide. The demand for the products and its brand has continued to grow
through this quarter.

The Company has allocated from Cannabank’s equity an additional $1.2 million worth of stock to
develop the Canchew Bio-Technologies soft launch. The company anticipates using cash flow
from operations to fund the expansion and development of the company, or it will seek to raise
additional capital. The company believes that the Canchew medicated gum will be a significant
revenue source in 2013 from the sales of the over the counter product. Once Clinical
development is completed and all appropriate approvals given, if given, then its anticipated that

information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 29 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 30 of 50
the Canchew medicated gum will expand into several key markets; Pain, Multiple Sclerosis,
Nausea Management and general health. Each specific claim will need to be evaluated and
clinical trials will need to be commenced in order to receive the appropriate FDA approvals to
market the products under specific functional medical claims.

The Company has allocated from Cannabank’s equity $1.1 million worth of its stock to develop
the Phytosphere systems hemp production facilities. Once the first crop is harvested, and oil
produced and sold and if and when profits realized, the hemp oil production should then cover
its own costs and the costs of the entire company’s development. It is estimated that the
company will receive $7 million dollars plus in additional revenue in 2013 from the development
of its hemp oil. The company will have to expend an additional $1.2 million dollar by the end of _
the year. These funds will need to be raised in order for.the completion of its year end crops.

Management's Discussion and Analysis of Financial Conditions and the Results of O erations
Manage ancial pera

The Company’s management is evaluating all aspects of the prior business plan as identified in
Section C II A8. Each item is being carefully evaluated to determine the likelihood of success,
profitability, marketability and overall productivity; this has included staff and compensation for
team members.

Currently the Company does have sufficient capital available to fund operations, but will be in
need of additional capital to build out several pending facilities, close on key acquisitions and
the integration of those businesses, additional capital will need to be raised to complete those
transactions, which may include the sale of additional securities of the issuer as well as
additional debt obligations. To date, the Company has been funded by way of private
placements and several key officers and directors’ direct investment and payment for hemp oil
cash flow rights. The Company will need to continue to raise additional funds until such time as
it is generating sufficient revenues from operations\expansion. The Company believes that The
Hemp Network will generate revenues commencing in the fourth quarter of fiscal 2011, the
company also believes that its county sales program and its Cannabidiol product line will start to
generate income through direct sales as well as licensing agreements. At this time the Company
cannot accurately predict revenues to be generated or the funding required. In addition to
revenues generated, the Company expects to be able to raise additional funds by way of debt or
equity but there can be no assurance that such funding will be available as required or ever.

Over the course of the third quarter of 2011 the company experienced in the first week of July,
its bank accounts being closed, because of the name of the company and its divisions, from The
Hemp Network to Medical Marijuana Inc.,-this also affected our relationship with CannaBANK,
BullNBear Group, as well as strategic options, which also caused transactions the company had
positioned for acquisition and development to not close which cut our projected revenue by two
thirds. We anticipate being able to establish new banking relationships with new institutions,
however at this time because of the negative stigma with dispensaries, the banks confuse our
companies activities with the unlawful activities of certain marijuana businesses. This has caused
our revenue for the 3 and 4 quarters to be a third of what we anticipated, due to the banking
regulations and closing of those accounts. We recovered from this in the last weeks of the 4th
and reestablish those transactions. The company is taking steps to ensure this situation will not

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 30 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 31 of 50

negatively affect the company in the future. There is however no way to guarantee that the
political and banking environment won’t negatively affect the company.

The company has in the 1* quarter of 2012 had a significant growth in revenue. This increase in
revenue is cause specifically in two areas of the companies operation and buy two divisions.
Wellness managed services accounted for nearly forty percent of the increase in revenue and
the balance was due to an unexpected licensing fee arrangement for $1.04 million from a
previous transaction that was anticipated to close in the last quarter of 2011, however at that
time due to the regulatory and banking environment it caused several of our previously
mentioned transactions to be either put on hold and are still being finalized or restructured or
those transactions were canceled. In this case the transaction was restructured via Hemp
Deposit and Distribution Corporation through CannaBANK for a total consideration of $1.04
million for the rights to distribute and receive in total twenty (20%) percent of the net income
derived from the hemp oil and extracts division. The company has spent in conjunction with
CannaBANK a considerable amount of resources over the past quarters on developing its oil
production business. Those focuses will soon switch from production to distribution in the
coming quarters. The company feels a significant amount of its profit over the next forty eight
(48) months will be derived from the sales. and contracting of its oil and production
technologies\facilities.

Wellness Managed Services has seen strong growth over the past few quarters and we expect
that growth to continue through the acquisition and development of Collectives, Cooperatives,
Health and Wellness facilities and Medical Clinics. In the third (3) quarter of 2012 the company
will focus heavily on the development of this company for several reasons.

f. The accounts provide in most cases an immediate cash flow

g. In most cases the account have additional shelf space for our products

h. In most cases the accounts provide direct sales access for our products to end
consumers and most importantly to the individuals who recommend specific
products ,

i. Because the accounts in most cases are established businesses our operating
costs are much less because we aggregate the operating costs in administration,
legal, accounting and-marketing giving the company a strategic advantage

j. The company anticipates a change in the market in the next twenty four (24) to
thirty six (36) months that will make the shelf space and distribution channels
much more valuable than in today’s market

The company is in the process of evaluating several potential employees or new hires to run and
further develop Wellness Managed Services. The company will have a website and specialized
developed in the third (3rd) quarter to specifically focus on the development of its operations.

The company formed Phytosphere systems a bio technology company specializing in the
cultivation, extraction, packaging and tracking of hemp based products. The company will then
need to focus on fund raising for this subsidiary for the development of production facilities
focused. The company has no way of knowing once formed if it will have the ability to raise the
necessary funds to develop said facilities. During the course of the second quarter we have
sourced and started development of our hemp production facilities. The company expects to
produce in excess of 400KG of high grade hemp oil prior to the end of the year. There are many
barriers to entry in the production of high grade cbd hemp oil which prevents many competitors
from entering. Those barriers are\but not limited to; Cost of research for cultivars, testing of

Information and Disclosure Statement Pursuant to Rule 15c2-1 1(a)(5) Page 31 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 32 of 50

cultivars, legal status of hemp, international legal Status of hemp, import and export laws, taxes,
specialty production, high cost of equipment and technical training. The company anticipates
expending $1.2 million dollars more on the overall production of hemp this fiscal year. The cash
flow that is generated from the wholesale sales of hemp oil is expected to be a significant
portion of the company revenue as well as provide operating cash flow to enable the company
to develop additional production facilities and fund the development and expansion of our
other portfolio companies. .

Red Dice Holdings, a subsidiary focused on the manufacturing, distribution and licensing of the
Dixie brand of products was closed in the 2 quarter of 2012. The company paid a total
consideration of $1.45 million for sixty (60) percent ownership of the brand, its equipment,
accounts and intellectual property: The company plans on expanding its operations state by
state through distribution agreements. The company plans on expanding on its current portfolio
of products through development and acquisition. Currently the company has five distinct
product lines and nearly fifty five products. Red Dice is expected to start purchasing high grade
cbd hemp oil from Phytosphere systems in the coming months. The company anticipates the
demand for its hemp oil to grow as Red Dice Holdings continues to expand and build market
awareness. The company anticipates raising additional capital to expand the operations of the
company.

The company is currently working with several institutional investment firms to establish
operating lines of credit. It is not known at this time if this will be linked as ‘debt, or equity
financing.

The company is working with several international marketing and sales companies in which the
company would receive a upfront fee for the opportunity of these firms in representing and
distributing the company portfolio of products. These discussions have also involved guaranteed
milestone payments and minimum sales volumes. The company anticipates closing on one or
more of these marketing\sales agreements.

The company is focused on growing its revenues domestically, at least for the foreseeable
future. There is opportunity abroad; however the management has decided to focus the

majority of its resources and capital on developing its current sales channels and establishing
distribution agreements with leading industry firms.

Off-Balance Sheet Arrangements -

The Company has no off-balance sheet arrangements.

Issuance History

Please see attached exhibits.

Purchase of Equity Securities by Issuer or Affiliated Purchases

Information and Disclosure Statement Pursuant to Rule 15¢2-11(a)(5) Page 32 of 33
Case’ 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 33 of 50

None

Part F__ Exhibits

See Attached Financial Reports and Press Release for the 2nd Quarter 2012.

Information and Disclosure Statement Pursuant to Rule 15c2-11(a)(5) Page 33 of 33
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 34 of 50
ISSUER’S CERTIFICATION

Michael Llamas, President of Medical Marijuana Inc, certify that;

1. | have reviewed this quarterly statement for the period ending June 30, 2012.

2. Based on my knowledge, this disclosure statement does not contain any untrue statement of a
material fact or omit to state a material fact necessary to make the statements made, in light of
the circumstances under which such statements were made, not misleading with respect to the
period covered by the disclosure statement; and .

3. Based on my knowledge, the financial statements, and other financial information included or
incorporated by reference in the disclosure statement, fairly present in all material respects the
financial condition, results of operations and cash flows of the issuer as of, and for, the periods
presented in the disclosure statement.

Dated: June 30, 2012

SE |
Michael Llamas a

President

Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 35 of 50
ISSUER’S CERTIFICATION

Michelle Sides, Chairman of Medical Marijuana Inc, certify that;

1. Ihave reviewed this quarterly statement for the period ending June 30, 2012.

2. Based on my knowledge, this disclosure statement does not contain any untrue statement of a
material fact or omit to state a material fact necessary to make the statements made, in light of
the circumstances under which such statements were made, not misleading with respect to the
period covered by the disclosure statement; and

3. Based on my knowledge, the financial statements, and other financial information included or
incorporated by reference in the disclosure statement, fairly present in all material respects the
financial condition, results of operations and cash flows of the issuer as of, and for, the periods
presented in the disclosure statement.

Dated: June 30, 2012

fi { Due hk
Michelle Sides
Chairman and COO
Case 1:15-cv-00701-JWF Document 69-4: Filed 11/16/18

Medical Marijuana, Inc.
Balance Sheet
For the Quarter Ending June 30, 2012

ASSETS
Current Assets
Checking/Savings/Cash Eq
Including Cannabank $4m Equity
Other Current Assets
Accounts Receivable Oil $
Total Joint Venture Rollover $
Total Current Assets
Other Assets
CanChew Bio Tech $
Red Dice Holdings
Extract Dev, Marketing $
Patent

Property Plant & Equipment

fA

166,000.00
296,000.00

1,250,000.00

1,450,000.00

1,135,237.66 ©
375.00

14,927.54

Total Other Assets
TOTAL ASSETS

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Accounts Payable

Accounts Payable - $

Page 36 of 50

3,596,136.80

462,000.00

3,850,540.20

7,908,677.00

Total Accounts Payable
Other Current Liabilities
Due to/from Officers
Total Other Current Liabilities
Total Current Liabilities

Total Liabilities

Equity
Additional Paid in Capital $
Goodwill

Retained Earnings

Net Income

156,778.00
: $

156,778.00

38,569.62

195,347.62

195,347.62

53,193,011.91
-49,240,315.19

2,679,731 .90-

1,471,596.00

Total Equity
TOTAL LIABILITIES & EQUITY

8,104,024.62

7,908,677.00

Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 37 of 50

Medical Marijuana, Inc.
Income Statement
For the Quarter Ending June 30, 2012

Revenue
Revenue
Licensing Fees Hemp Oil . $ 889,000.00
Services, Account Rec, DebitRec . $ 821,596.91
Wellness Managed Services $ 326,000.00
Hemp Network Revenue $ -
Less: Cost of Goods sold 0.00
Hemp Network Gross Profit — 0.00
Other Income/Expense $ 216,028.09
Joint Venture Income . . $ 150,000.00
Relief of Indebtedness 0.00
Total Income $ 2,402,625.00
Direct Cost of Goods\Revenue $ 666,713.30
Net Income left for operating expenses . . $ 1,735,911.70

General & Administrative Expenses

Advertising and Promotion . § 60,200.00
Testing $ 1,100.00
Bank Service Charges $ 665.56
Computer and Internet Expenses $ 1,680.00
Bankcard Processing Fee —$ 1,780.00
Public Filing Fees\Legal $ 3,963.00
Interest Expense . $ 13,684.00
Janitorial Expense S$ 175.00
Phytosphere $ -
Postage $ 764.06
Office Supplies $ 675.00
Payroll (Excluding Stock-Based Compensatior $ 115,300.00
Professional Fees $ 6,563.02
Rent Expense $ 6,642.00
Utility Expense $ 3,180.00
Travel Expenses $ 46,444.06
Transfer Agents $ 1,500.00
Total Expense . $ 264,315.70
Net Income : $ 1,471,596.00

Page 1 of 1
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 38 of 50

Medical Marijuana, Inc.
Statement of Cash Flow

For the Quarter Ending June 30, 2012

OPERATING ACTIVITIES
Income
Operating Expenses
Direct Costs of Goods
Total Adjustments

Net cash provided by Operating Activities

INVESTING ACTIVITIES
Red Dice Holdings
CanChew Bio-Technologies

Net cash provided by Investing Activities

FINANCING ACTIVITIES
Joint Venture Rollover
Joint Venture Oil Allocation
Joint Venture Capital Allocation
Net cash provided by Financing Activities

Adjustment for Hemp Oil

Net cash increase for period

Cash at beginning of period

Cash at end of period

$ 1,450,000.00

$ 1,250,000.00.

2,402,625.00
264,315.70
666,713.30
931,029.00

IF nM ww

1,471,596.00

2,700,000.00

150,000.00
166,000.00
146,000.00

eleln nm

462,000.00

170,117.59
(596,286.41)

4,192,423.21

- 3,596,136.80

Page 1 of 1
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 39 of 50

Medical Marijuana, Inc.
Statement of Cash Flow

For the Quarter Ending June 30, 2012

OPERATING ACTIVITIES
Income
Operating Expenses
Direct Costs of Goods
Total Adjustments

Net cash provided by Operating Activities

INVESTING ACTIVITIES
Red Dice Holdings
CanChew Bio-Technologies

Net cash provided by Investing Activities

FINANCING ACTIVITIES
Joint Venture Rollover
Joint Venture Oil Allocation
Joint Venture Capital Allocation
Net cash provided by Financing Activities

Adjustment for Hemp Oil

Net cash increase for period

Cash at beginning of period

Cash at end of period

$ 1,450,000.00

$ 1,250,000.00

_2,402,625.00

264,315.70
666,713.30
931,029.00

HIP nM H

1,471,596.00

2,700,000.00

150,000.00
166,000.00
146,000.00

462,000.00

CLL 1 mH

170,117.59
(596,286.41)

4,192,423.21

" 3,596,136.80

Page 1 of 1
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 40 of 50

201210810132

LLC-1 | File #
State of California
Secretary of State ENDORSED - FILED
. in the office of the Secretary of State
of the State of California
LIMITED LIABILITY COMPANY APR 11 2012
ARTICLES OF ORGANIZATION .
A $70.00 filing fee must accompany this form.
IMPORTANT - Read instructions before completing this form. This Space For Filing Use Only

ENTITY NAME (End the name with the words “Limited Liability Company,” or the abbreviations "LLC” or “L.L.C." The words “Limited” and “Company”
may be abbreviated to “Ltd,” and “Co.,” respectively.)

1. NAME OF LIMITED LIABILITY COMPANY
Red Dice Holdings, LLC

PURPOSE (The following statement is required by Statute and should not be altered.)

2, THE PURPOSE OF THE LIMITED LIABILITY COMPANY IS TO ENGAGE IN ANY LAWFUL ACT OR ACTIVITY FOR WHICH A LIMITED LIABILITY
COMPANY MAY BE ORGANIZED UNDER THE BEVERLY-KILLEA, LIMITED LIABILITY COMPANY ACT.

INITIAL AGENT FOR SERVICE OF PROCESS (if the agent is an individual, the agent must reside in California and both Items 3 and 4 must be
completed, if the agent is a corporation, the agent must have on file with the California Secretary of State a certificate pursuant fo Corporations Code
section 1505 and Item 3 must be completed {leave item 4 blank).

3. NAME OF INITIAL AGENT FOR SERVICE OF PROCESS

Business Filings Incorporated

4. IF AN INDIVIDUAL, ADDRESS OF INITIAL AGENT FOR SERVICE OF PROCESS INCALIFORNIA CITY STATE ZIP CODE

CA

MANAGEMENT (Check only one)

5. THE LIMITED LIABILITY COMPANY WILL BE MANAGED BY:
Ix] ONE MANAGER
[_] MORE THAN ONE MANAGER

C] ALL LIMITED LIABILITY COMPANY MEMBER(S)

ADDITIONAL INFORMATION

6. ADDITIONAL INFORMATION SET FORTH ON THE ATTACHED PAGES, IF ANY, IS INCORPORATED HEREIN BY THIS REFERENCE AND MADE A PART
OF THIS CERTIFICATE. .

EXECUTION

7. |} DECLARE | AM THE PERSON WHO EXECUTED THIS INSTRUMENT, WHICH EXECUTION IS MY ACT AND DEED.

April 10, 2012 Woe

DATE . SIGNATURE OF ORGANIZER

Business Filings Incorporated, Mark Williams, A.V.P.
TYPE OR PRINT NAME OF ORGANIZER

LLG-1 (REV 04/2007) : . APPROVED BY SECRETARY OF STATE

Case 1:15-cv-00701-JWF Document 69-4 Filed LI/1errs Page 41 of se

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Original recor, Of the
Calitomia Sete cus

DEBRA BOWEN, Secretary of State

ay

Case 1:15-cv-00701-JWE Document 69-4 Filed 11/16/18 Page 42 of 50

AT

ROSS MILLER *091201*
Secretary of State .

204 North Carson Street, Suite 1
Carson City, Nevada 89701-4520
(775) 684-5708

Website: www.nvsos.gov

Filed in the office of ‘Document Number

20120516024-83
: <tr ln Filing Date and Time

Amendment to po Ross Miller |, 07/26/2012 9:36 AM
. eae ecretary of State Entity Number
Articles of Organization ——— [StateofNevada 93504420123

(PURSUANT TO NRS 86.221):

USE BLACK INK ONLY -D0 NOT HIGHLIGHT : soot ABOVE SPACE IS FOR OFFICE USE ONLY

Certificate of Amendment to Articles of Organizatio
For a Nevada Limited-liability Co n
(Pursuant to NRS 86.221)

1. Name of limited-ability company:

f . ee ee \ na oe ;
| Can-Chew Bio-Technologies, LLC .
Entity No: E0350442012-3 ‘ . i

2. The company is managed by: - CI Managers OR [<] Members

(check only one box)

3. The articles have been amended as follows: (provide article numbers, if available)*

— weer teen
Incorporation documents were filed incorrectly listing incorporator as Member. .
Removal of Michelle Sides of 2665 Ariane Drive, San Diego, CA 92117. i

The Members of the entity are as follows: . .

Medical Marijuana, Inc., 2665 Ariane Drive, San Diego, CA 92117, Percentage of Ownership: 50% .

{Mareda Holding BV, Attn: Dr. Ph. A. Van Damme DMD, MD, PHD, Bijleveldsingel, 89, 6521 AP Nijmegen,
The Netherlands. Percentage of Ownership: 17% . i

Lekhram Changoer, Kuyperstraat 5, 3404 HL Veselstein, The Netherlands. Percentage of Ownership: 16.5% .

George E. Anastassov, 100 United Nations Plaza, A-10A, NY, NY 10017, Percentage of Ownership: 16.5%

4. Effective date and time of filing: (optional) Date: |June 29, 2012, | Time:|__ ee
: (must not be later than 90 days after the Certificate is filed)

5. Signature (must be signed by at least one manager or bya managing member):

“~_ Signature " Me chael Camcs, Menag a4 hon ber '

* 1) If amending company name, it must contain the words "Limited-Liability Company,” “Limited Company," or “Limited,”
or the abbreviations "Ltd.," "LL.C.,” or “L.G.," "LLC" or "LC." The word “Company” may be abbreviated as "Co,"

2) If adding managers, provide names and addresses.
FILING FEE: $175.00
IMPORTANT: Failure to include any of the above information and submit with the proper fees may cause this filing to be rejected,

This form must be accompanied by appropriate fees. , Nevada Sacrotary of State 86.221 me Amendment
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 43 of 50

*050103*

ROSS MILLER
Secretary of State
204 Nosth Carson Street, Suite 4
Carson City, Nevada 99701-4520
(775) 684-5708
Website wwvinvsos.gov_
_ {Filed in the office of 20120 457748 70
Articles of Organization . <r lan Hing Daal
. » oss Miller
Limited-Liability Company Secretary of State | Haiity Number
(PURSUANT TO NRS CHAPTER 886) State of Nevada E0350442012-3

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‘ Name of Limited- ~ Check boxita Shock boxite |
ability Com : io- logies. ’ Series Lim
(nes ones ompany CanChew Bio-Technologies, LLC Lictity Compeny ‘Ln cited
limited-lebilty company 0 CT
wording, see instructions) __ /
2. Registered usiness Filings Incorporated
Agent for Service [x] Cornmercial Registered Agent piss ig TP |
of Process: (check Noncommercial Re ion wi
gistered Agent Office or Position with Ertity
only one box) CJ (narre and address below QR O (hame and address below)
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Name ofNoncommerda Registered Agert” OR Name of Title of O fice or Other Postion wih Entity
| Ib [Nevadal
Street Address City Zp Code .
| II [Nev adal
Mailing Adckess (tditerent fom street address) City Zo Code
Date inn Latest date upon which the company Isto dissolve @f existence is not perpetual):| |
4, Management: Company shall be managed by: Manager(s) . OR Member(s)
required) U (cheek only one box) [x
5. Name and 1) | Michelle Sides
Address of sach Name "
Faenager Member: [ 2665 Ariane Drive 207 [San Diego |L.ca [92117]
(ettech Sttonal page it | Sweet Adktess city State Zip Code
more then 3) 2) | |
Name . ;
I Ld |
Street Address City State Zip Code
13 | __.
Name . _—
| I Li
Street Address City State Zip Cove
6. Name, Address [Business Filings Incorporated | A Mark Williams, AVP
and Signature of Ni fy
Organizer: Gttach ame Orgeni
addtional pagsifmore {18040 Excelsior Dr, Suite 200 | [Madison wi |i s3717__ |
then 1 organizer) Address City State Zip Code
7. Certificate of i hereby accept appojptment as Registered Agent for the above named Entity.
Acceptance of was
Appointment of | X / Mark Williams, AVP [june 29,3012]
Registered Agent: | authori ature df Registered Agent Ur On Deal of Registered Agent Entity Date

This form must be accompanied by appropriate fees,

Nevada Secretary of Stutte NRS 86 DLLC Atides
Revised: 3-10-11

-4 Filed 11/16/18 Page 44 of 50

LIMITED LIABILITY COMPANY CHARTER

I, ROSS MILLER, the Nevada Secretary of State, do hereby certify that CANCHEW BIO-
TECHNOLOGIES, LLC did on June 29, 2012, file in this office the Articles of Organization for
a Limited Liability Company, that said Articles of Organization are now on file and of record in the
office of the Nevada Secretary of State, and further, that said Articles contain all the provisions
required by the laws governing Limited Liability Companies in the State of Nevada.

IN WITNESS WHEREOF, I have hereunto set my
hand and affixed the Great Seal of State, at my
office on June 29, 2012.

+ ie Bn

ROSS MILLER
Secretary of State
Certified By: G Ramos
Certificate Number: C20120629-1346 .
You may verify this certificate
online at http:/Iwww.nvsos.gov/

Case 1:15-cv-00701-JWF Document 69-4 Filed Leis. Page 45 of 50

State of Delaware
Secre of State
Division of Corporations
Delivered 02: 44 PM 05/07/2012
FILED 02:33 PM 05/07/2012

CERTIFICATE OF FORMATION SRV V7 120521 785 ~ 5150610 FILE
OF .
PhytoSPHERE Systems, LLC .
The undersigned, an authorized natural person, for the purpose © of forming a limited liability company, under the
provisions and subject to the requirements of the State of Delaware (particularly Chapter 18, Title 6 of the

Delaware Code and the acts amendatory thereof and supplemental thereto, and known, identified, and referred to
as the “Delaware Limited Liability Company Act”), hereby certifies that:

FIRST: The name of the limited liability company (hereinafter called the “limited
liability company”) is: PhytoSPHERE Systems, LLC

SECOND: The address of the registered office of the limited liability company in the State of
Delaware is located at: 108 West 13th Street, Wilmington, Delaware 19801. Located in
the County of New Castle. The name of the registered agent at that address is Business
Filings Incorporated

THIRD: The duration of the limited liability company shall be perpetual.

FOURTH: The name and address of the member is:

Medical Marijuana Inc, 2665 Ariane Drive #207, San Diego, California 92117

Executed on May 7, 2012

Yoh ___

Business Filings Incorporated,
Authorized Person
Mark Williams, A.V.P.

Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 46 of 50

ACTION OF SOLE ORGANIZER
OF .
PhytoSPHERE Systems, LLC
The undersigned, being the sole organizer of PhytoSPHERE Systems, LLC, a Delaware
Limited Liability Company (the “Company”), does hereby approve and adopt the following
resolutions:
Election of Members
RESOLVED, that the following persons are hereby elected as the members of the Limited
Liability Company to serve until the first annual meeting of the members or until their successors

are duly elected and qualified:

Medical Marijuana Inc, 2665 Ariane Drive #207, San Diego, California 92117

The undersigned, upon completion of this Action of Organizer, shall have no further
responsibilities or obligations to the Limited Liability Company in his capacity as sole organizer.

Dated: MAY 0 9 2012

Yb ___

Business Filings Incorporated, Organizer
Mark Williams, A.V.P.

Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 47 of 50

Delaware sx:

The First State

I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF
DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT
COPY OF THE CERTIFICATE OF FORMATION OF "PHYTOSPHERE SYSTEMS,
LLC", FILED IN THIS OFFICE ON THE SEVENTH DAY OF MAY, A.D. 2012,

AT 2:33 O'CLOCK P.M.

Jeffrey W. Bullock, Secretary of State
5150610 8100 | AUTHEN' TION: 9556458

DATE: 05-08-12

120521755

You may verify this certificate online
at corp. delaware.gov/authver. sh
» * Case 1:15-cv-00701-JWE Document 69-4_Filéd 11/16/18 Page 48 of 50

ATE

ROSS MILLER

Secretary of State

204 North Carson Street, Suite 4
Carson City, Nevada 89701-4520
(775) 684-5708 .
Website: WWW.NVSOS.gov

Filed in the office of [Document Number
. = 20120516073-77
: . + tr Alla Filing Date and Time
Amendment to / Ross Miller sts 07/26/2012 9:36 AM
. . wey ecretary of State Entity Number
Articles of Organization . . State of Nevada E034787201 2.9
(PURSUANT TO NRS 86.221) :
USE BLACK INK ONLY-DONOTHIGHLIGHT ~ . . . ABOVE SPACE IS FOR OFFICE USE ONLY

ertificate of Amendment to Articles of Oraani ation
For a Nevada Limited-Liability Com
(Pursuant to NRS 86,221)

1. Name of limited-liability company:

|HempMeds RX, LLC vo meme oo oo
‘Entity No.: E0347872012-9 .

Veeco emmenete me satanians tet owes tb anne ome ve

2. The company is managed by: [-] Managers OR [<] Members
. (check only one box)

3. The articles have been amended as follows: (provide article numbers, if available)*

[TTS ere tt cece pm eerperes ee cnn st sor att 70 meinen ane “)

Incorporation documents were filed incorrectly listing incorporator as Member. .
[Removal of Michelle Sides of 2665 Ariane Drive, San Diego, CA 92117.
! a j
'The Members of the entity are as follows: . . : i
|Medical Marijuana, Inc., 2665 Ariane Drive, San Diego, CA 92117, Percentage of Ownership: 80% |
{Hemp Deposit and Distribution Corporation, 2665 Ariane Drive; San Diego, CA 92117. Percentage of Ownership: 20% |

|
|
i

nent stern snsten it stst eet nem tee eetnnsensen nent tat

4. Effective date and time of filing: (optional) Date: |Fune'28, 2012

5. Signature > (must be signed by at least one manager or by a managing member):

gee Masaging Menton

* 1) f amending company name, it must contain the words "Limited-Liability Company," "Limited Company,” or “Limited,”
or the abbreviations "Ltd.,” "L.L.C.," or "LC." "LLC" or "LG." The word "Company” may be abbreviated as "Co."

2) If adding managers, provide names and addresses. .

FILING FEE: $175.00

IMPORTANT: Failure to include any of the above information and submit with the Proper fees may cause this filing to be rejected.

. tary of State 86.221 DLLC Amendment
This form must be accompanied by appropriate fees. : Nevada Secretary of State Revised: 63111
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 49 of 50

ROSS MLLER

Secretary of State

204 North Carson Street, Suite 4 -
Carson City, Nevada 89701-4520
(775) 684.5708

Website: WWW.LNVSOS.gov

0A

Articles of Organization
Limited-Liability Company
8}

(PURSUANT TO NRS CHAPTER 86

Filed in the office of | Document Number
20120453813-99
’ <7 Ma Filing Date and Time
| Ross Miller 06/28/2012 11:00 AM
|State of Nevada = /£0347872012-9

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Com : SerlesLimited- Restricted Lim
fos cota pany: || HempMeds RX, LLC Lisbity Company ein cates
ted -Hebliity company
won see hstrustions) __ C] CJ
2. Registered ant Business Filings Incorporated
Agentfor Seivice |x] Commercial Registered Agent Bau i gs Incorpo _|
of Process: (check Noncommercial Registered A Office or Position wth Ent
cry one bs (]Nonermerca Repeat agent ge J Tage eciion wth Erly
Name ofNoncommerda Registered Agent OR Nene of Title of O fice or Other Posiion wath Entity
L I |Nevadal _ |
Street Address City ZipCode
I Inevagal_
Mailing Address (fdiferent fom strest address) City Zp Code
Date een Latest date upon which the compary is to dissolve ( existence is not pespetual):| |
4, Management: Company shall be managed ty: Manages) Membar(s)
required) CO (check oR. box) [x]
5. Name and 1) | Michelle Sides _]
Address of each Name sites ”
Manager or [2665 Ariane Drive 207 |[San Diego _ Cafifornia|[92117__ |
Managing Member: Street Address City Stete ip Coda
(@ttach page if
more than 3) 2[ |
Name :
If IE J
Street Adcvess: City State Zip Code
1D 74
Neme :
JIE JL IE _|
| Street Address City State Zip Cone
6. Name, Address [Business Filings Incorporated | xX Mark Williams, AVP
and Signature of Nem iH
Organizer: (ettach © — on ——
addtional pageifmore |/8040 Excelsior Dr, Suite 200 || Madison IL wi |[s3717__]
than 1 organize) Ackiress City Stete Zip Cous
7. Cartificate of | hereby &ppygiment as Registered Agent for the above named Entity,
Acceptance of saps
Appointment of X Mark Williams, AVP [ June 28, 2012. |
Registered Agent: ature egstered Agent Or On Bebal of Registered Agent Entity Dete

This form must be Sccompanied by appropriate fees,

Nawada Secretary of State NRS 66 DLLC Aticas
Revisad: 3-10-11
Case 1:15-cv-00701-JWF Document 69-4 Filed 11/16/18 Page 50 of 50

LIMITED LIABILITY COMPANY CHARTER

I, ROSS MILLER, the Nevada Secretary of State, do hereby certify that HEMPMEDS RX, LLC
did on June 28, 2012, file in this office the Articles of Organization for a Limited Liability
Company, that said Articles of Organization are now on file and of record in the office of the
Nevada Secretary of State, and further, that said Articles contain all the provisions required by the
laws governing Limited Liability Companies in the State of Nevada.

IN WITNESS WHEREOF, I have hereunto set my
hand and affixed the Great Seal of State, at my
office on June’28, 2012.

=e Wea —

ROSS MILLER
Secretary of State
Certified By: GJ Jaillet . :
Certificate Number: C20120628-1819
You may verify this certificate
online at http:/Iwww.nvsos.gov/

